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                                               and MALIKA ARYANPURE
                                           8
                                                                UNITED STATES DISTRICT COURT FOR THE
                                           9
                                                                    CENTRAL DISTRICT OF CALIFORNIA
                                          10
                                               BALBOA CAPITAL CORPORATION,               Case No. 8:23-cv-00936-MEMF-DFM
                                          11 a California Corporation;
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                                          12        Plaintiff/Counterclaim                DEFENDANTS MITT LARY
                                                    Defendant,                           FAMILY PRACTICE, LLC’S AND
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                                          13                                             MALIKA ARYANPURE’S
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                                                    v.                                   ANSWER, COUNTERCLAIMS
                                          14
                                               MITT LARY FAMILY PRACTICE,                AND THIRD-PARTY COMPLAINT
                                          15 LLC, an Alabama limited liability

                                          16 company;                                      JURY TRIAL DEMANDED
                                               MALIKA ARYANPURE, an
                                          17 individual,

                                          18        Defendants/Counterclaim
                                                    Plaintiff.
                                          19
                                             MITT LARY FAMILY PRACTICE,
                                          20
                                             LLC, an Alabama limited liability
                                          21 company; MALIKA ARYANPURE, an
                                             individual,
                                          22
                                                    Third-Party Plaintiff,
                                          23
                                                    v.
                                          24 HOLOGIC, INC., a Delaware

                                          25 Corporation; CYNOSURE, LLC, a
                                               Delaware Corporation,
                                          26
                                                    Third-Party Defendants.
                                          27

                                          28

                                                DEFENDANTS' ANSWER TO COMPLAINT AND COUNTERCLAIM AND THIRD PARTY COMPLAINT
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                                           1        Defendants, Counterclaim Plaintiffs, and Third-Party Plaintiffs MITT LARY
                                           2 FAMILY PRACTICE LLC and MALIKA ARYANPURE (“Defendants”) states for

                                           3 their Answer to Complaint as follows:

                                           4                             PARTIES AND JURISDICTION
                                           5        1.    Defendants lack sufficient information to form an opinion as to the truth
                                           6 of the allegations set forth in Paragraph 1, and on that basis deny the allegations

                                           7 contained in Paragraph 1.

                                           8        2.    Defendants admit that MITT LARY FAMILY PRACTICE, LLC is an
                                           9 Alabama Limited Liability Company doing business in the State of Alabama and has

                                          10 a place of business in the County of Tuscaloosa, State of Alabama. Defendants deny

                                          11 each and every remaining allegation, if any, in Paragraph 2 of the Complaint.
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                                          12        3.    Defendants admit that MALIKA ARYANPURE is an individual
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                                          13 residing in the State of Alabama and was an officer of MITT LARY FAMILY
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                                          14 PRACTICE, LLC. Defendants deny each and every remaining allegation, if any, in

                                          15 Paragraph 3 of the Complaint.

                                          16        4.    Paragraph 4 of the Complaint is no longer applicable as a result of the
                                          17 Notice of Dismissal [Dkt. No. 14] and therefore no response is required from

                                          18 Defendants. In addition, the allegations in Paragraph 4 of the Complaint contain legal

                                          19 conclusions to which no response is required. To the extent that any response is

                                          20 necessary, Defendants lack sufficient information to form an opinion as to the truth

                                          21 of the allegations set forth in Paragraph 4, and on that basis deny the allegations

                                          22 contained in Paragraph 4.

                                          23        5.    Paragraph 5 contains a legal conclusion to which no response is required.
                                          24 Defendants deny each and every remaining allegation, if any, in Paragraph 5 of the

                                          25 Complaint.

                                          26        6.    Paragraph 6 contains a legal conclusion to which no response is required.
                                          27 Defendants deny each and every remaining allegation, if any, in Paragraph 6 of the

                                          28 Complaint.

3071.201                                                                        PROOF OF SERVICE
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                                          1        7.     Defendants admit that the quoted language is found in a document
                                          2 entitled “Equipment Finance Agreement.” The portions of Paragraph 7 that contain

                                          3 a legal conclusion do not require a response.      Defendants deny each and every
                                          4 remaining allegation, if any, in Paragraph 7 of the Complaint.

                                          5        8.     Paragraph 8 contains a legal conclusion to which no response is required.
                                          6 Defendants deny each and every remaining allegation, if any, in Paragraph 8 of the

                                          7 Complaint.

                                          8        9.     Paragraph 9 contains a legal conclusion to which no response is required.
                                          9 Defendants deny each and every remaining allegation, if any, in Paragraph 9 of the

                                         10 Complaint.

                                         11                             FIRST CAUSE OF ACTION
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                                         12                    (Breach of Equipment Financing Agreement)
                                         13                 (Against Mitt Lary Family Practice and Does 1-10)
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                                         14        10.    Defendants incorporate by reference their response to each and every
                                         15 allegation contained above, inclusive, as though each were fully set forth here.

                                         16        11.    Defendants admit that a copy of a document entitled “Equipment
                                         17 Finance Agreement No. 304165-000” is attached to the Complaint as Exhibit A. The

                                         18 portions of Paragraph 11 that contain a legal conclusion do not require a response.

                                         19 Defendants deny each and every remaining allegation, if any, in Paragraph 11 of the

                                         20 Complaint.

                                         21        12.    The portions of Paragraph 12 that contain a legal conclusion do not
                                         22 require a response. Defendants deny each and every remaining allegation, if any, in

                                         23 Paragraph 12 of the Complaint.

                                         24        13.    Defendants admit that Balboa declared the entire balance of the
                                         25 payments under the EFA to be immediately due and payable to Balboa. The portions

                                         26 of Paragraph 13 that contain a legal conclusion do not require a response. Defendants

                                         27 deny each and every remaining allegation, if any, in Paragraph 13 of the Complaint.

                                         28        14.    The portions of Paragraph 14 that contain a legal conclusion do not
                                                                                        2
2996.201                                      DEFENDANTS' ANSWER TO COMPLAINT AND COUNTERCLAIM AND THIRD-PARTY COMPLAINT
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                                          1 require a response. Defendants lack sufficient information to form an opinion as to

                                          2 the truth of the allegation that “the insurance fees in the sum of $756.99 are now due

                                          3 and owing” as set forth in Paragraph 14, and on that basis deny the allegations

                                          4 contained in Paragraph 14. Defendants deny each and every remaining allegation, if

                                          5 any, in Paragraph 14 of the Complaint.

                                          6        15.    Defendants deny the allegations in Paragraph 15 of the Complaint.
                                          7        16.    The portions of Paragraph 16 that contain a legal conclusion do not
                                          8 require a response. Defendants deny the remaining allegations, if any, contained in

                                          9 Paragraph 16 of the Complaint.

                                         10        17.    The portions of Paragraph 17 that contain a legal conclusion do not
                                         11 require a response. Defendants deny the remaining allegations, if any, contained in
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                                         12 Paragraph 17 of the Complaint.

                                         13                             FIRST CAUSE OF ACTION
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                                         14                                 (Breach of Guaranty)
                                         15                         (Against Aryanpure and Does 1-10)
                                         16        18.    Defendants incorporate by reference their response to each and every
                                         17 allegation contained above, inclusive, as though each were fully set forth here.

                                         18        19.    The portions of Paragraph 19 that contain a legal conclusion do not
                                         19 require a response. Defendants deny the remaining allegations, if any, contained in

                                         20 Paragraph 19 of the Complaint.

                                         21        20.    Defendants admit that “Balboa demanded Aryanpure make the payments
                                         22 required under the EFA.” The portions of Paragraph 20 that contain a legal conclusion

                                         23 do not require a response. Defendants deny the remaining allegations, if any,

                                         24 contained in Paragraph 20 of the Complaint.

                                         25        21.    Paragraph 21 contains a legal conclusion to which no response is
                                         26 required. Defendants deny each and every remaining allegation, if any, in Paragraph

                                         27 21 of the Complaint.

                                         28        22.    Paragraph 22 contains a legal conclusion to which no response is
                                                                                       3
2996.201                                      DEFENDANTS' ANSWER TO COMPLAINT AND COUNTERCLAIM AND THIRD-PARTY COMPLAINT
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                                          1 required. Defendants deny each and every remaining allegation, if any, in Paragraph

                                          2 22 of the Complaint.

                                          3                                   PRAYER FOR RELIEF
                                          4           Defendants deny that Plaintiff is entitled to the relief requested or to any other
                                          5 relief.

                                          6           Defendants deny all allegations of the Complaint not specifically admitted
                                          7 above.

                                          8                         AFFIRMATIVE AND OTHER DEFENSES
                                          9                             FIRST AFFIRMATIVE DEFENSE
                                         10                (Failure to State a Claim Upon Which Relief Can Be Granted)
                                         11           1.      Defendants are informed and believe, and on that basis allege, Plaintiff’s
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                                         12 Complaint, and each cause of action thereof, fails to state facts sufficient to constitute

                                         13 a cause of action against Defendants.
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                                         14                            SECOND AFFIRMATIVE DEFENSE
                                         15                                 (No Enforceable Agreement)
                                         16           2.      Defendants are further informed and believe, and on that basis allege,
                                         17 Plaintiff’s Complaint, and each purported cause of action therein, is barred by reason

                                         18 that one or more of the contracts alleged never existed, is void or voidable, or is

                                         19 otherwise not enforceable.

                                         20                             THIRD AFFIRMATIVE DEFENSE
                                         21                                   (Rescission/Reformation)
                                         22           3.      Plaintiff is estopped from recovery, in whole or in part, by reason that
                                         23 one or more of the contracts alleged must be rescinded or reformed, based on failure

                                         24 of consideration, fraud, mistake, unforeseen circumstances, including the closure of

                                         25 businesses and stay at home directives and public health and safety orders by the local,

                                         26 state and/or federal government(s), or another basis.

                                         27 / / /

                                         28 / / /
                                                                                            4
2996.201                                      DEFENDANTS' ANSWER TO COMPLAINT AND COUNTERCLAIM AND THIRD-PARTY COMPLAINT
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                                          1                         FOURTH AFFIRMATIVE DEFENSE
                                          2                                         (Estoppel)
                                          3         4.    Defendants are further informed and believe, and on that basis allege,
                                          4 Plaintiff are estopped by maxims of equity and law from asserting each and every

                                          5 allegation in the Complaint against Defendants by reason of Plaintiff’s own acts,

                                          6 omissions and conduct or that of Plaintiff’s agents. Defendants are further informed

                                          7 and believe, and on that basis allege, that if Defendants failed to perform any oral or

                                          8 written promise, covenant or condition, each or any failure of performance was caused

                                          9 by Plaintiff’s acts and/or omissions and that Plaintiff is respectively estopped to deny

                                         10 otherwise.

                                         11                          FIFTH AFFIRMATIVE DEFENSE
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                                         12                                     (Laches/Waiver)
                                         13         5.    Defendants are further informed and believe, and on that basis allege,
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                                         14 Plaintiff’s Complaint, and each purported cause of action therein, is barred by the

                                         15 doctrines of laches, and/or waiver.

                                         16                          SIXTH AFFIRMATIVE DEFENSE
                                         17                                 (Fraud / Unclean Hands)
                                         18         6.    Defendants are further informed and believe, and on that basis allege, if
                                         19 Plaintiff suffered any damages, said damages occurred as a proximate result of

                                         20 fraudulent or other acts of Plaintiff and/or Plaintiff’s agents, and not as a result of any

                                         21 acts, omissions or conduct of Defendants. By reason thereof, Plaintiff is barred from

                                         22 asserting any or all claims set forth in the Complaint against Defendants by the

                                         23 doctrine of “unclean hands.”

                                         24                        SEVENTH AFFIRMATIVE DEFENSE
                                         25                                 (Compliance with Law)
                                         26         7.    Defendants are further informed and believe, and on that basis allege,
                                         27 Plaintiff’s Complaint, and each purported cause of action therein, is barred by reason

                                         28 that Defendants at all times alleged in the Complaint, complied with the law and any
                                                                                        5
2996.201                                      DEFENDANTS' ANSWER TO COMPLAINT AND COUNTERCLAIM AND THIRD-PARTY COMPLAINT
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                                          1 acts and/or omissions of Defendants’ to the extent they are accurate, were expressly

                                          2 authorized by applicable statutes and regulations.

                                          3                        EIGHTH AFFIRMATIVE DEFENSE
                                          4                               (Assumption of the Risk)
                                          5        8.    Defendants are further informed and believe, and on that basis allege,
                                          6 Plaintiff’s alleged damages, if any, were caused by Plaintiff’s own conduct or

                                          7 omissions, and Plaintiff’s alleged right to recover from Defendants is barred and/or

                                          8 limited under the doctrine of assumption of the risk.

                                          9                         NINTH AFFIRMATIVE DEFENSE
                                         10                              (Comparative Negligence)
                                         11        9.    Defendants are further informed and believe, and on that basis allege,
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                                         12 Plaintiff’s alleged damages, if any, were caused by Plaintiff’s own conduct or

                                         13 omissions, and Plaintiff’s alleged right to recover from Defendants is barred and/or
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                                         14 limited under the doctrine of comparative negligence.

                                         15                         TENTH AFFIRMATIVE DEFENSE
                                         16                               (Contributory Conduct)
                                         17        10.   Plaintiff is estopped from recovery, in whole or in part, due to their own
                                         18 conduct and actions, including but not limited to conduct which failed to exercise

                                         19 reasonable and ordinary care, caution or prudence; conduct which was negligent,

                                         20 careless, reckless and/or unlawful; and/or conduct which constitutes unfair and

                                         21 deceptive business practices, duress, undue influence, constructive fraud, or fraud,

                                         22 including but not limited to with respect to any alleged initiation, negotiation,

                                         23 solicitation, procurement or inducement of any alleged agreement between any of the

                                         24 Defendants and Plaintiff and/or its agents.

                                         25                      ELEVENTH AFFIRMATIVE DEFENSE
                                         26                                 (Lack of Formation)
                                         27        11.   Defendants are further informed and believe, and on that basis allege,
                                         28 that to the extent there was any agreement or agreements as alleged in the Complaint,
                                                                                       6
2996.201                                      DEFENDANTS' ANSWER TO COMPLAINT AND COUNTERCLAIM AND THIRD-PARTY COMPLAINT
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                                          1 they were not properly formed.

                                          2                        TWELFTH AFFIRMATIVE DEFENSE
                                          3                          (Lack of Sufficient Consideration)
                                          4         12.   Defendants are further informed and believe, and on that basis allege,
                                          5 Plaintiff’s claims are barred, in whole or in part, and/or recovery is precluded because

                                          6 the terms of any purported contract and/or agreement between the Plaintiff and any

                                          7 Defendant, as alleged in the Complaint, lack sufficient cause or consideration for the

                                          8 formation of a valid contract between Plaintiff and any Defendant.

                                          9                     THIRTEENTH AFFIRMATIVE DEFENSE
                                         10                                      (Uncertainty)
                                         11         13.   Defendants are further informed and believe, and on that basis allege,
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                                         12 Plaintiff’s claims are barred, in whole or in part, and/or recovery is precluded because

                                         13 the terms of any purported contract and/or agreement between Plaintiff and any
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                                         14 Defendant, as alleged in the Complaint, are not sufficiently definite and certain to

                                         15 provide a basis for determining the existence of a breach and for giving an appropriate

                                         16 remedy to Plaintiff.

                                         17                    FOURTEENTH AFFIRMATIVE DEFENSE
                                         18                                  (Unjust Enrichment)
                                         19         14.   Defendants are further informed and believe, and on that basis allege,
                                         20 that the Complaint, and each purported cause of action alleged therein, is barred

                                         21 because any recovery from Defendant would result in Plaintiff’s unjust enrichment.

                                         22                        FIFTEENTH AFFIRMATIVE DEFENSE
                                         23                                (Frustration of purpose)
                                         24         15.   Defendants are further informed and believe, and on that basis allege,
                                         25 Plaintiff’s claims are barred, in whole or in part, and/or recovery is precluded because

                                         26 the purpose of the contract has been frustrated.

                                         27 / / /

                                         28 / / /
                                                                                        7
2996.201                                      DEFENDANTS' ANSWER TO COMPLAINT AND COUNTERCLAIM AND THIRD-PARTY COMPLAINT
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                                          1                      SIXTEENTH AFFIRMATIVE DEFENSE
                                          2                            (Impossibility/Impracticability)
                                          3        16.    Defendants are further informed and believe, and on that basis allege,
                                          4 Plaintiff’s Claims are barred, in whole or in part, and/or recovery is precluded

                                          5 because the object and performance of the contract were made impossible and

                                          6 impracticable.

                                          7                    SEVENTEENTH AFFIRMATIVE DEFENSE
                                          8                    (Fraud in the Inducement/Misrepresentation)
                                          9        17.    Defendants are further informed and believe, and on that basis allege,
                                         10 Plaintiff’s claims are barred, in whole or in part, and/or recovery is precluded because

                                         11 Plaintiff has fraudulently induced Defendant to enter into the contract.
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                                         12                     EIGHTEENTH AFFIRMATIVE DEFENSE
                                         13                             (Failure to Mitigate Damages)
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                                         14        18.    Defendants are further informed and believe, and on that basis allege,
                                         15 that Plaintiff are barred from recovering any damages, or any recovery must be

                                         16 reduced, by virtue of Plaintiff’s failure to exercise reasonable diligence to mitigate

                                         17 alleged damages.

                                         18                     NINETEENTH AFFIRMATIVE DEFENSE
                                         19                                     (Setoff/Offset)
                                         20        19.    Defendants are further informed and believe, and on that basis allege, the
                                         21 Defendants have the right of setoff/offset, if any amount of money is owed to the

                                         22 Plaintiff or due to the Plaintiff by way of damages, or if any amount of money is

                                         23 collected or received in any way or for any reason by the Plaintiff from any source

                                         24 with respect to the damages claimed in the Complaint.

                                         25                     TWENTIETH AFFIRMATIVE DEFENSE
                                         26                         (Full Performance and/or Discharge)
                                         27        20.    Defendants are further informed and believe, and on that basis allege,
                                         28 that any duty or obligation, contractual or otherwise, which the Plaintiff claims is
                                                                                      8
2996.201                                      DEFENDANTS' ANSWER TO COMPLAINT AND COUNTERCLAIM AND THIRD-PARTY COMPLAINT
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                                           1 owed by Defendants have been fully performed and/or satisfied and/or fully

                                           2 discharged, to the extent any such obligation existed.

                                           3                    TWENTY-FIRST AFFIRMATIVE DEFENSE
                                           4                                       (No Breach)
                                           5        21.    Recovery on Plaintiff’s claims is barred, in whole or in part, because
                                           6 Defendants did not breach any duty to Plaintiff.

                                           7                  TWENTY-SECOND AFFIRMATIVE DEFENSE
                                           8                                         (Excuse)
                                           9        22.    Recovery on Plaintiff’s claims is barred, in whole or in part, because any
                                          10 and all such acts or omissions were subject to a legitimate excuse, or were excused by

                                          11 the actions of Plaintiff and/or Plaintiff’s agents.
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                                          12                    TWENTY-THIRD AFFIRMATIVE DEFENSE
                                          13                                         (Mistake)
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                                          14        23.    Defendants are further informed and believe, and on that basis allege,
                                          15 recovery on Plaintiff’s claims is barred, in whole or in part, under the doctrine of

                                          16 mistake.

                                          17                  TWENTY-FOURTH AFFIRMATIVE DEFENSE
                                          18                (Breach of Covenant of Good Faith and Fair Dealing)
                                          19        24.    To the extent there is any enforceable agreement(s) between Plaintiff and
                                          20 Defendants, each such agreement is accompanied by a covenant and duty of good

                                          21 faith and fair dealing in fulfilling its terms and conditions. Said covenant of good

                                          22 faith and fair dealing was breached by Plaintiff, thereby barring Plaintiff from the

                                          23 recovery sought and excusing Defendants from performing obligations allegedly not

                                          24 performed, if any.

                                          25                    TWENTY-FIFTH AFFIRMATIVE DEFENSE
                                          26                       (Reasonableness and Good Faith Actions)
                                          27        25.    Defendants are further informed and believe, and on that basis allege,
                                          28 Plaintiff’s claims are barred, in whole or in part, because Defendants acted reasonably,
                                                                                           9
2996.201                                       DEFENDANTS' ANSWER TO COMPLAINT AND COUNTERCLAIM AND THIRD-PARTY COMPLAINT
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                                           1 and within the scope of all relevant laws, at all relevant times and in all relevant ways

                                           2 in dealing with the Plaintiff.

                                           3                   TWENTY-SIXTH AFFIRMATIVE DEFENSE
                                           4                                  (Willful Misconduct)
                                           5         26.   Defendants are further informed and believe, and on that basis allege,
                                           6 Plaintiff’s claims are barred, in whole or in part, and/or recovery is precluded because

                                           7 Defendants’ conduct was not willful in the aspect, if any, that was harmful to the

                                           8 Plaintiff.

                                           9                 TWENTY-SEVENTH AFFIRMATIVE DEFENSE
                                          10                                      (No Damages)
                                          11         27.   Defendants are further informed and believe, and on that basis allege,
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                                          12 that Plaintiff’s claims are limited, in whole or in part, and/or recovery is precluded

                                          13 because Plaintiff did not suffer any damages.
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                                          14                  TWENTY-EIGHTH AFFIRMATIVE DEFENSE
                                          15                                   (Proximate Cause)
                                          16         28.   Defendants are further informed and believe, and on that basis allege,
                                          17 that Plaintiff’s Complaint, and each purported cause of action alleged therein, is

                                          18 barred because the damages or injuries allegedly sustained by Plaintiff, if any, were

                                          19 not proximately caused by the acts, omissions and/or breach of any obligations of

                                          20 Defendants.

                                          21 / / /

                                          22 / / /

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2996.201                                       DEFENDANTS' ANSWER TO COMPLAINT AND COUNTERCLAIM AND THIRD-PARTY COMPLAINT
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                                           1             COUNTERCLAIM AND THIRD-PARTY COMPLAINT
                                           2        For its Counterclaims against Counterclaim Defendant BALBOA CAPITAL
                                           3 CORPORATION (“BALBOA”) and Third-Party Complaint against Third-Party

                                           4 Defendants HOLOGIC, INC (“HOLOGIC”) and CYNOSURE, LLC

                                           5 (“CYNOSURE”), Counterclaim and Third-Party Plaintiffs MITT LARY FAMILY

                                           6 PRACTICE, LLC and MALIKA ARYANPURE (together, “Counterclaim and

                                           7 Third-Party Plaintiffs”) allege as follows:

                                           8                               NATURE OF DISPUTE
                                           9        1.     Counterclaim and Third-Party Plaintiffs entered into a financing
                                          10 agreement for the purchase of a laser equipment on or about August 2019.

                                          11 Counterclaim and Third-Party Plaintiffs complied with the terms of the agreement in
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                                          12 question and made monthly payments to BALBOA for several years until

                                          13 performance was excused due to the devastating consequences of the global
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                                          14 coronavirus pandemic outbreak that changed the world, frustrated the purpose of the

                                          15 contract and made performance impracticable for Counterclaim and Third-Party

                                          16 Plaintiffs. Notwithstanding the foregoing, Counterclaim and Third-Party Plaintiffs

                                          17 actively attempted to reach an amicable resolution with BALBOA. It is in these

                                          18 circumstances that BALBOA, in total disregard of this unprecedent crisis and

                                          19 Counterclaim and Third-Party Plaintiffs’ good faith efforts to find a solution,

                                          20 responded by filing this lawsuit and demanding even more money to Counterclaim

                                          21 and Third-Party Plaintiffs.

                                          22                                          PARTIES
                                          23        2.     Counterclaim and Third-Party Plaintiffs MALIKA ARYANPURE (“Dr.
                                          24 Aryanpure”) is and at all times herein mentioned was, an individual residing in the

                                          25 state of Alabama. MALIKA ARYANPURE is a Doctor of Medicine specializing in

                                          26 cosmetic surgery and related treatments.

                                          27        3.     Counterclaim and Third-Party Plaintiffs MITT LARY FAMILY
                                          28 PRACTICE, LLC, (“MITT LARY”) is, and at all times herein mentioned was, a
                                                                              11
2996.201                                       DEFENDANTS' ANSWER TO COMPLAINT AND COUNTERCLAIM AND THIRD-PARTY COMPLAINT
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                                           1 limited liability company organized and existing under the laws of the State of

                                           2 Alabama with its principal place of business in Alabama. Mitt Lary is a medical

                                           3 practice owned by Dr. Aryanpure.

                                           4        4.     Counterclaim     Defendant    BALBOA       CAPITAL       CORPORATION
                                           5 (“BALBOA” or “Lender”) is, and all times herein mentioned was, a corporation

                                           6 organized and existing under the laws of the State of California with its principal place

                                           7 of business located at 575 Anton Boulevard, 12th Floor, in the City of Costa Mesa,

                                           8 County of Orange, State of California. BALBOA at all times herein mentioned was a

                                           9 licensed California Finance Lender, CFL License No. 6032159, currently inactive.

                                          10        5.     Third-Party Defendant HOLOGIC, INC (“HOLOGIC” or “Supplier”) is
                                          11 and was at all times herein mentioned, a corporation organized and existing under the
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                                          12 laws of the State of Delaware with its principal place of business located at 250

                                          13 Campus Drive, City of Marlborough, State of Massachusetts. HOLOGIC is a medical
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                                          14 technology company, which distributes and supplies a variety of medical equipment

                                          15 and devices to clinics and medical practices. HOLOGIC specifically sold medical

                                          16 device to MITT LARY in or around July 2019.

                                          17        6.     Third-Party     Defendant    CYNOSURE,       LLC     (“CYNOSURE”        or
                                          18 “Manufacturer”) is, and all times herein mentioned was, a corporation organized and

                                          19 existing under the laws of the State of Delaware with its principal place of business

                                          20 located at 5 Carlisle Road, City of Westfield, State of Massachusetts. At all relevant

                                          21 times mentioned herein, CYNOSURE was wholly owned or controlled by HOLOGIC

                                          22 and represented itself to be a “Hologic Company”. HOLOGIC’s agents, salespersons,

                                          23 and employees were authorized to sell CYNOSURE products on behalf of HOLOGIC,

                                          24 including the medical device sold to MITT LARY in or around July 2019.

                                          25        7.     At all times herein mentioned, each and every Counterclaim and Third-
                                          26 Party Defendants were the agent, partner, principal and employee, co-conspirator, co-

                                          27 venturer, and/or aided and abetted of each and every of the remaining Counterclaim

                                          28 and Third-Party Defendants and were at all times mentioned acting within the course
                                                                                      12
2996.201                                       DEFENDANTS' ANSWER TO COMPLAINT AND COUNTERCLAIM AND THIRD-PARTY COMPLAINT
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                                           1 and scope of such agency and employment.

                                           2        8.     As alleged in greater detail below, each and every Counterclaim and
                                           3 Third-Party Defendants knowingly and willfully entered into a common design, plan,

                                           4 and agreement with, to perpetrate the wrongs against Counterclaim and Third-Party

                                           5 Plaintiffs, and should be held vicariously liable.

                                           6                                GENERAL ALLEGATIONS
                                           7        9.     In 2019, HOLOGIC had employed high pressure sales tactics in
                                           8 marketing, CYNOSURE’s products, which involved sales representatives making

                                           9 “cold calls” to medical practices like MITT LARRY and represent to the respective

                                          10 doctor or medical practice that it had selected its “highly respected medical practice

                                          11 and trusted skills” to benefit from an exclusive business offer from CYNOSURE.
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                                          12        10.    During this time, a HOLOGIC sales agent “Cassandra” had repeatedly
                                          13 contacted MITT LARY to promote the sale of CYNOSURE’s products. Cassandra
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                                          14 was able to establish a friendly rapport through continuous conversations with Dr.

                                          15 Aryanpure and was urging her to obtain for MITT LARY a cosmetic medical device

                                          16 manufactured by CYNOSURE, Tempsure®, advertised as using a radiofrequency

                                          17 (RF) platform to provide aesthetic non-invasive skin tightening procedures (the

                                          18 “Equipment”).

                                          19        A.     Counterclaim and Third-Party Plaintiffs were Fraudulently
                                          20               Induced to Sign a Financing Agreement
                                          21        11.    With respect to the Equipment, Cassandra made the following
                                          22 misrepresentations to Dr Aryanpure: (a) the use of the Equipment by MITT LARY in

                                          23 its Medical Practice will inevitably generate significant profits; (b) that HOLOGIC

                                          24 and CYNOSURE would provide continuous and extensive technical training to MITT

                                          25 LARY’s medical staff and employees on how to operate the Equipment; (c) that

                                          26 HOLOGIC and CYNOSURE would handle the marketing of the Equipment and

                                          27 provide all brochures and marketing material the various treatments MITT LARY

                                          28 could offer with the Equipment; and (d) that HOLOGIC and CYNOSURE would
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                                           1 support the business development surrounding the Equipment for MITT LARY to

                                           2 build a clientele base.

                                           3        12.    MITT LARY did not want to invest the upfront capital in the Equipment,
                                           4 which was priced at over $180,000. However, Cassandra continued to pressure MITT

                                           5 LARY to purchase the Equipment. During her conversations with Dr. Aryanpure,

                                           6 Cassandra represented that HOLOGIC and CYNOSURE offered financing options

                                           7 for the purchase of the Equipment and endorsed BALBOA as their exclusive

                                           8 financing partner. Cassandra further represented to Dr. Aryanpure that MITT LARY

                                           9 could only purchase the Equipment through the financing provided by BALBOA.

                                          10        13.    As part of HOLOGIC’s efforts to finalize the sale of the Equipment to
                                          11 MITT LARY, Cassandra went to meet with Dr. Aryanpure on or around July 23,
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                                          12 2019, to discuss the terms for an Equipment Financing Agreement (“EFA”) with

                                          13 BALBOA.       At this meeting, Cassandra failed to disclose that BALBOA was a
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                                          14 separate company and did not confirm whether she or HOLOGIC were authorized to

                                          15 discuss the EFA on behalf of BALBOA. Cassandra further represented to Dr.

                                          16 Aryanpure that MITT LARY could cancel the EFA at any time.

                                          17        14.    Cassandra made various misrepresentations with respect to the EFA, by
                                          18 directly stating to Dr Aryanpure; (e) that the amount of new businesses generated by

                                          19 MITT LARY’s promotion and use of the Tempsure®, RF Platform, would be more

                                          20 than sufficient revenue to cover the monthly payments due under the EFA; (f) that

                                          21 only BALBOA could finance MITT LARY’s purchase of the Equipment; and (g) that

                                          22 BALBOA would provide “extremely favorable” loan terms and interest rates to MITT

                                          23 LARY’s in the EFA, yet never disclosed the terms and interest rates; and (h) that

                                          24 MITT LARY’s could cancel the EFA at any time.

                                          25        15.    Through the statements and representations made by Cassandra,
                                          26 Counterclaim and Third-Party Plaintiffs understood that HOLOGIC, CYNOSURE

                                          27 and BALBOA held joint interests and were part of the same business. As a result of

                                          28 CYNOSURE’s representations, MITT LARY was induced to sign the Equipment
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                                           1 Financing Agreement (“EFA”) with BALBOA on or about July 23, 2019. The EFA

                                           2 was countersigned by BALBOA on or about August 1, 2019,

                                           3        16.   Under the terms of the EFA, BALBOA was to finance the full price of
                                           4 the Equipment as presented by HOLOGIC, in the amount of One Hundred and Eighty-

                                           5 Four Thousand, Nine Hundred and Eighty-Two 50/100 Dollars ($184,982.50), which

                                           6 was to be remitted through a wire transfer payable to HOLOGIC’s account. The

                                           7 payment terms of the EFA required MITT LARY to make sixty-six (66) monthly

                                           8 payments to BALBOA in the amount of $99.00 for payments 1-6 and the amount of

                                           9 $4,205.50 for payments 7-66. The EFA also contained terms for personal guaranty

                                          10 by Dr. Aryanpure (the “Guaranty”)

                                          11        17.   BALBOA at all relevant times mentioned herein was a licensed
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                                          12 California Finance Lender, License No. 6032159, currently in Inactive Status. As a

                                          13 finance lender, BALBOA was required to comply with the California Financing Law,
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                                          14 California Finance Code Sections 22000 et. seq. and the specific subsections

                                          15 regulating the financing of a commercial loan.

                                          16        18.   After Dr. Aryanpure signed the EFA, neither Cassandra nor anyone else
                                          17 from HOLOGIC reached out to MITT LARY to offer the support Cassandra promised

                                          18 would come with the Equipment. Despite the Equipment not performing as promised

                                          19 and MITT LARY immediately facing numerous unexpected problems with using the

                                          20 Equipment, Counterclaim and Third-Party Plaintiffs continuously performed their

                                          21 obligations and sent monthly payments to BALBOA, until it became impossible.

                                          22        B.    Covid-19 outbreak frustrated the purpose of the EFA and rendered
                                          23              performance     by   Counterclaim     and     Third-Party   Plaintiffs
                                          24              temporarily impossible.
                                          25        19.   In late 2019, the outbreak of the novel Coronavirus Disease 2019
                                          26 (“COVID-19”) had started in China, and shortly after the World Health Organization

                                          27 declared COVID-19 a Public Health Emergency of International Concern.

                                          28        20.   In February and March 2020, COVID-19 was by then declared
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                                           1 worldwide pandemic and in response to the large spread in the United States, both

                                           2 Federal and State governments initiated severe restrictions to fight the spread of

                                           3 COVID-19, such as the closure of all unessential practices and businesses and stay at

                                           4 home orders requiring all individuals to stay home unless furthering essential tasks

                                           5 such as grocery shopping.

                                           6        21.    On March 19, 2020, the State Health Officer of Alabama issued the
                                           7 Statewide Order ‘Suspending Certain Public Gatherings Due to Risk of Infection by

                                           8 Covid-19’ The Statewide Order was pursuant to the Code of Alabama 1975 § 22-2-

                                           9 2(4), which authorizes the State Health Officer, on behalf of the State Board of Health,

                                          10 to direct those conditions prejudicial to health in public places within the State be

                                          11 abated.
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                                          12        22.    By the end of March 2020, multiple Federal and state regulations have
                                          13 been implemented requiring individuals to stay at home unless they are furthering
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                                          14 essential tasks; to respect social distances at all times, which involved keeping a

                                          15 distance of six feet from one another at all times; and the closure of non-essential

                                          16 businesses.

                                          17        C.     Counterclaim and Third-Party Plaintiffs Could no Longer Comply
                                          18               with terms of EFA.
                                          19        23.    In light of this sudden and unimaginable outbreak, Counterclaim and
                                          20 Third-Party Plaintiffs closed their medical practice on or about March 2020 in order

                                          21 to protect the health and safety of the patients and employees and to comply with

                                          22 corresponding government orders and guidelines. As a result, Counterclaim and

                                          23 Third-Party Plaintiffs, as many other individuals and businesses, have been drastically

                                          24 harmed by this global pandemic and suffer from its economic impact.

                                          25        24.    Because COVID-19 regulations imposed a mandatory distance of 6 feet
                                          26 between all individuals, Counterclaim and Third-Party Plaintiffs’ medical practice--

                                          27 which included the use of the Equipment in close contact with the faces and bodies of

                                          28 patients- had been prohibited by the COVID-19 health regulations. The unforeseeable
                                                                                      16
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                                           1 and mandatory suspension of Counterclaim and Third-Party Plaintiffs’ medical

                                           2 practice, for an undetermined amount of time, resulted in an absence of income as the

                                           3 operation of MITT LARY constitutes Counterclaim and Third-Party Plaintiffs’ main

                                           4 source of revenue.

                                           5        25.   As a result, after complying with their obligations under the EFA for
                                           6 approximatively nine months, Counterclaim and Third-Party Plaintiffs came to the

                                           7 realization that moving forward, and for an uncertain period of time, they could not

                                           8 keep up with the monthly payments due to BALBOA under the EFA as originally

                                           9 contemplated. The issue faced by Counterclaim and Third-Party Plaintiffs was not a

                                          10 minor delay of available money, but rather the total absence of a foreseeable

                                          11 permanent reopening MITT LARY, in a manner that would generate a continuous and
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                                          12 stable source of income and will permit Counterclaim and Third-Party Plaintiffs s to

                                          13 comply with their monthly payment obligations under the EFA. Therefore, before the
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                                          14 next monthly payment was due, Counterclaim and Third-Party Plaintiffs s reached

                                          15 out to BALBOA to find a reasonable and amicable solution.

                                          16        26.   Based on the unprecedent and unexpected change of circumstances
                                          17 caused by COVID-19 pandemic and Counterclaim and Third-Party Plaintiffs good

                                          18 faith compliance with the terms of the EFA up until that time; Counterclaim and

                                          19 Third-Party Plaintiffs expected BALBOA to make good faith efforts to find a

                                          20 reasonable solution, but this was not the case. Rather, in total disregard of

                                          21 Counterclaim and Third-Party Plaintiffs’ circumstances, BALBOA continued to

                                          22 make withdrawals of the monthly amounts from Counterclaim and Third-Party

                                          23 Plaintiffs’ bank account. However, the requested amounts were not available in

                                          24 Counterclaim and Third-Party Plaintiffs’ bank account.

                                          25        27.   Instead of attempting to find a solution with Counterclaim and Third-
                                          26 Party Plaintiffs, BALBOA, filed a complaint on May 27, 2020 in California Superior

                                          27 Court entitled, Balboa Capital Corporation v. Mitt Lary Family Practice LLC, et al.,

                                          28 Case No. 30-2020-01146549-CU-CL-CJC (Cal. Supr.) (hereinafter “Balboa I”) and
                                                                                17
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                                           1 demanded even more money from Counterclaim and Third-Party Plaintiffs. Balboa I

                                           2 involved essentially the same allegations and causes of action as being alleged in the

                                           3 above captioned Complaint. The parties vigorously litigated Balboa I over three

                                           4 years, including extensive discovery, numerous discovery motions, and several

                                           5 continuations of the trial date. Trial was scheduled to begin on October 9, 2023.

                                           6 Without any prior notice or explanation, after three years of litigating Balboa I,

                                           7 BALBOA voluntarily dismissed Balboa I without prejudice on May 16, 2023.

                                           8 Having delayed adjudication of the underlying dispute between the parties, BALBOA

                                           9 now believes that it is its right to immediately receive the shocking amount of

                                          10 $242,508.01, plus interests.

                                          11        28.    Since that time BALBOA had refused to provide an extension of time or
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                                          12 forbearance on MITT LARY’s payment obligations under the EFA. Despite offers by

                                          13 the Counterclaim and Third-Party Plaintiff, BALBOA has refused to permit MITT
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                                          14 LARY to continue the previous monthly payments and has instead declared the entire

                                          15 amount under the EFA, plus interest and attorney fees, due and payable. Counterclain

                                          16 and Third-Party Plaintiff therefore respectfully request the Court to order the equitable

                                          17 and legal relief requested herein, including a declaration as to the extent to which

                                          18 Counterclaim and Third-Party Plaintiffs s monthly payments was and is abated and a

                                          19 reformation or rescission of the EFA accordingly.

                                          20                              FIRST CAUSE OF ACTION
                                          21                          BREACH OF ORAL CONTRACT
                                          22                        (Against CYNOSURE and HOLOGIC)
                                          23        29.    Counterclaim and Third-Party Plaintiffs repeat and reallege each and
                                          24 every allegation set forth above as if set forth fully herein.

                                          25        30.    As alleged with more particularity in the allegations set forth above,
                                          26 CYNOSURE and HOLOGIC as the Manufacturer and Supplier of the Equipment

                                          27 (together “Sellers”) jointly sold CYNOSURE’s product to MITT LARY under both

                                          28 HOLOGIC and CYNOSURE’s name.                 Accordingly, Sellers entered into an oral
                                                                                          18
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                                           1 contract with Counterclaim and Third-Party Plaintiffs, wherein in exchange for MITT

                                           2 LARY’s purchase of the Equipment and Dr. Aryanpure’ s Guaranty by executing the

                                           3 EFA, the Sellers agreed to provide the following valuable performance: guarantee

                                           4 Counterclaim and Third-Party Plaintiffs’ successful use and profit generation from

                                           5 the Equipment; to provide training, business support and marketing materials for

                                           6 Counterclaim and Third-Party Plaintiffs; build up clientele for Counterclaim and

                                           7 Third-Party Plaintiffs; and other affirmations of fact as terms forming the basis of the

                                           8 oral contract.

                                           9        31.    The terms of the oral contract were clear enough that both the
                                          10 Counterclaim and Third-Party Plaintiffs and the Sellers could understand what each

                                          11 was required to do and each agreed to the terms.
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                                          12        32.    As alleged with more particularity in the allegations set forth above,
                                          13 Counterclaim and Third-Party Plaintiffs fully performed their obligations under the
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                                          14 oral contract by purchasing the Equipment through the execution of the EFA.

                                          15        33.    Through Counterclaim and Third-Party Plaintiffs’ performance on the
                                          16 oral contract, the Sellers received the full bargained for compensation for the

                                          17 Counterclaim and Third-Party Plaintiffs execution of the EFA. Despite Sellers

                                          18 receiving the full benefit of the funds obtained from financing of the purchase of the

                                          19 Equipment, Sellers’s sale of the Equipment. However, CYNOSURE and HOLOGIC

                                          20 failed to perform any of the agreed promises under the terms of the oral contract.

                                          21        34.    As the foreseeable and actual result of the Seller’s breach of contract,
                                          22 Counterclaim and Third-Party Plaintiffs were damaged in the amount that was paid

                                          23 to finance the Equipment, including all sales price, tax, principal, interest and

                                          24 markups, as well as all amounts Counterclaim and Third-Party Plaintiffs’ may be

                                          25 found liable by executing the EFA. Counterclaim and Third-Party Plaintiffs were also

                                          26 further harmed by all amounts spent in efforts to support the business and advertise

                                          27 the Medical Practices use of the Equipment.

                                          28        35.    As alleged with more particularity in the allegations set forth above,
                                                                                         19
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                                           1 Counterclaim and Third-Party Plaintiffs were harmed by these breaches, including

                                           2 Counterclaim and Third-Party Plaintiffs’ inability to use the Equipment for its

                                           3 business, and yet still paid substantial amounts under the EFA. Subsequently,

                                           4 Counterclaim and Third-Party Plaintiffs have incurred even more damages in

                                           5 attorneys’ fees and legal costs involved in defending against the complaint filed by

                                           6 BALBOA in Balboa I and in this lawsuit.

                                           7        36.    As a proximate result of this conduct, Counterclaim and Third-Party
                                           8 Plaintiffs have been damaged in an amount according to proof, but in an amount no

                                           9 less than $300,000.00.

                                          10                            SECOND CAUSE OF ACTION
                                          11       BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR
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                                          12                                        DEALING
                                          13               (Against All Counterclaim and Third-Party Defendants)
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                                          14        37.    Counterclaim and Third-Party Plaintiffs repeat and realleges each and
                                          15 every allegation set forth above as if set forth fully herein.

                                          16        38.    Every contract includes an implied covenant of good faith and fair
                                          17 dealing, whereby each party agrees not to engage in any acts which would unfairly

                                          18 interfere with the other party’s rights to the benefits to the contract. California courts

                                          19 have defined “good faith” in a contract to mean honesty of purpose without any

                                          20 intention to mislead or to take unfair advantage of another.

                                          21        39.    As alleged in the detail in the cause of action above, Counterclaim and
                                          22 Third-Party Plaintiffs and the Sellers entered into an oral contract for Sellers’

                                          23 performance on their oral promises in exchange for Counterclaim and Third-Party

                                          24 Plaintiffs’ purchase of the Equipment. Under the oral contract the Sellers owed

                                          25 Counterclaim and Third-Party Plaintiffs a duty of honesty of purpose without any

                                          26 intention to mislead or to take unfair advantage of another.

                                          27        40.    Th Sellers reached its duty of good faith by failing to perform the
                                          28 promises under the oral contract, by misleading Counterclaim and Third-Party
                                                                                   20
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                                           1 Plaintiffs to believe that HOLOGIC’s required Lender, BALBOA, and Sellers were

                                           2 part of the same business; and by misrepresenting the terms of the EFA with the

                                           3 Lender.

                                           4        41.    As alleged with more particularity in the general allegations set forth
                                           5 above, BALBOA as the Lender and Counterclaim and Third-Party Plaintiffs as the

                                           6 Borrower entered the EFA wherein the Lender had financed the purchase of the

                                           7 Equipment in exchange for Counterclaim and Third-Party Plaintiffs making all

                                           8 scheduled payments. Under the EFA, the Lender owed Counterclaim and Third-Party

                                           9 Plaintiffs a duty of honesty of purpose without any intention to mislead or to take

                                          10 unfair advantage of another.

                                          11        42.    The Lender breached its duty of good faith by failing to perform its
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                                          12 statutory duty as California Finance Lender and assuring that Counterclaim and Third-

                                          13 Party Plaintiffs acknowledged in writing a written statement disclosing the Lender’s
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                                          14 sole authorization to offer a financing loan.

                                          15        43.    Counterclaim and Third-Party Plaintiffs have performed all duties under
                                          16 the oral contract with Sellers and were excused for performance under the EFA with

                                          17 the Lender. Counterclaim and Third-Party Defendants’ Breach of a specific provision

                                          18 of the contract is not prerequisite. The covenant of good faith can be breached for

                                          19 objectively unreasonable conduct, regardless of the actor’s motive.

                                          20        44.    In committing the breaches of contract detailed above in the General
                                          21 Allegations and First Cause of Action, Counterclaim and Third-Party Defendants, and

                                          22 each of them, did not act fairly, honestly or in good faith and therefore breached the

                                          23 implied covenant of good faith and fair dealing.

                                          24        45.    As alleged with more particularity in the allegations set forth above,
                                          25 Counterclaim and Third-Party Plaintiffs were harmed by these breaches, including

                                          26 being denied the benefit of the bargain to assure its successful use of the Equipment

                                          27 for its business, and yet still paid nearly $13,300 to BALBOA and more than

                                          28 $25,000.00 to support its business. Subsequently, Counterclaim and Third-Party
                                                                                    21
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                                           1 Plaintiffs have incurred an even larger amount of attorneys’ fees and costs defending

                                           2 Balboa I and this instant court action commenced by BALBOA.

                                           3        46.    The violations detailed above were intentional, and a tort-based recovery
                                           4 for breach of the covenant of good faith and fair dealing is appropriate here because

                                           5 of the special relationship between the contracting parties.

                                           6        47.    As a proximate result of this conduct, Counterclaim and Third-Party
                                           7 Plaintiffs have been damaged in an amount according to proof.

                                           8        48.    Counterclaim and Third Party Defendants’ conduct and each of them was
                                           9 fraudulent, malicious, and oppressive within the meaning of section 3294 of the

                                          10 California Civil Code, in that they intended to cause injury to Counterclaim and Third-

                                          11 Party Plaintiffs and acted despicably, with a willful and conscious disregard of the
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                                          12 rights of Counterclaim and Third-Party Plaintiffs. Counterclaim and Third-Party

                                          13 Plaintiffs are therefore entitled to an award of exemplary and punitive damages, in an
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                                          14 amount deemed appropriate by the trier of fact, to punish and make an example of

                                          15 Cynosure.

                                          16                             THIRD CAUSE OF ACTION
                                          17        VIOLATION OF CALIFORNIA’S FALSE ADVERTISING LAWS
                                          18                         Cal. Bus. & Prof Code §1700, et seq.
                                          19                        (Against CYNOSURE and HOLOGIC)
                                          20        49.    Counterclaim and Third-Party Plaintiffs repeat and re-allege the
                                          21 allegations contained in every preceding paragraph as if fully set forth herein.

                                          22        50.    Cal. Bus. & Prof. Code § 17500 provides: It is unlawful for any
                                          23 person…corporation…with intent…to dispose of…personal property…to induce the

                                          24 public to enter into any obligation relating thereto, to make or disseminate or cause to

                                          25 be made or disseminated…from this state before the public in any state, in any

                                          26 newspaper or other publication, or any advertising device, or by public outcry or

                                          27 proclamation, or in any other manner or means whatever, including over the Internet,

                                          28 any statement…which is untrue or misleading, and which is known, or which by the
                                                                                    22
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                                           1 exercise of reasonable care should be known, to be untrue or misleading…”. “or for

                                           2 any person, firm, or corporation to so make or disseminate or cause to be so made or

                                           3 disseminated any such statement as part of a plan or scheme with the intent not to sell

                                           4 that personal property or those services, professional or otherwise, so advertised at

                                           5 the price stated therein, or as so advertised.”

                                           6         51.   The “intent” required by Section17500 is the intent to dispose of
                                           7 property, and not the intent to mislead the public in the disposition of such property.

                                           8         52.   The Sellers claimed to offer a benefit to Counterclaim and Third-Party
                                           9 Plaintiffs through its partnership with BALBOA; claimed it would support

                                          10 Counterclaim and Third-Party Plaintiffs’ marketing and business development in

                                          11 offering treatments through the Equipment, guaranteed the generation of business
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                                          12 from new clients, sufficient for Counterclaim and Third-Party Plaintiffs to cover

                                          13 monthly payments due under the EFA, and claimed Counterclaim and Third-Party
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                                          14 Plaintiffs could cancel the EFA at any time.

                                          15         53.   These claims by Sellers were unfair, untrue, and misleading practices,
                                          16 which did, in fact, misled Counterclaim and Third-Party Plaintiffs. By these untrue

                                          17 and misleading statements Sellers induced Counterclaim and Third-Party Plaintiffs to

                                          18 sign the EFA and failed to disclose the actual terms of the EFA.

                                          19         54.   As a direct and proximate result of the Sellers’s misleading and false
                                          20 advertisements, Counterclaim and Third-Party Plaintiffs have suffered injury in fact

                                          21 and have lost money. As such, Counterclaim and Third-Party Plaintiffs request that

                                          22 this Court order the Sellers to restore this money paid for the Equipment to

                                          23 Counterclaim and Third-Party Plaintiffs, and to enjoin HOLOGIC and CYNOSURE

                                          24 from continuing these unfair practices in violation of the California Unfair

                                          25 Competition Law in the future. Otherwise, Counterclaim and Third-Party Plaintiffs

                                          26 and the broader general public, will be irreparably harmed and/or denied an effective

                                          27 and complete remedy.

                                          28 / / /
                                                                                         23
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                                           1                           FOURTH CAUSE OF ACTION
                                           2                    NEGLIGENCE and NELGIGENCE PER SE
                                           3                                (AGAINST BALBOA)
                                           4        55.    Counterclaim and Third-Party Plaintiffs repeat and re-allege the
                                           5 allegations contained in every preceding paragraph as if fully set forth herein.

                                           6        56.    At all relevant times mentioned herein, BALBOA was a licensed
                                           7 California Finance Lender, subject to regulations California Financing Law, CA FIN

                                           8 Code §§ 22000 et. seq. (“CFL”).

                                           9        57.    BALBOA as the Lender, financed the purchase of the Equipment
                                          10 through the consummation of a commercial loan which was solicited and procured by

                                          11 a person who did not hold a CFL license issued through the State of California,
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                                          12 through a borrower referred to BALBOA by that unlicensed person.

                                          13        58.    Under CFL § 22603, before Counterclaim and Third-Party Plaintiffs
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                                          14 signed the EFA, BALBOA had a duty to provide Counterclaim and Third-Party

                                          15 Plaintiffs as a prospective borrower, the following written statement, in 10-point font

                                          16 or larger, and require Counterclaim and Third-Party Plaintiffs to acknowledge receipt

                                          17 of the statement in writing:

                                          18
                                                           You have been referred to us by [Name of Unlicensed
                                          19               Person]. If you are approved for the loan, we may pay a fee
                                                           to [Name of Unlicensed Person] for the successful referral.
                                          20               [Licensee], and not [Name of Unlicensed Person] is the sole
                                                           party authorized to offer a loan to you. You should ensure
                                          21               that you understand any loan offer we may extend to you
                                                           before agreeing to the loan terms. If you wish to report a
                                          22               complaint about this loan transaction, you may contact the
                                                           Department of Business Oversight at 1-866-ASK-CORP (1-
                                          23               866-275-2677), or file your complaint online at
                                                           www.dbo.ca.gov.
                                          24

                                          25        59.    Additionally, CFL § 22602(b) provides that, “A licensee that pays
                                          26 compensation to a person that is not licensed in connection with a referral for a

                                          27 commercial loan made by that licensee to a borrower shall be liable for any

                                          28 misrepresentation made to that borrower in connection with that loan.” Counterclaim
                                                                                      24
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                                           1 and Third-Party Plaintiffs were borrowers of commercial loan made by BALBOA and

                                           2 is in the class of persons which CFL § 22602(b) is intended to protect.

                                           3         60.   BALBOA breached its statutory duty to provide this written statement to
                                           4 the Counterclaim and Third-Party Plaintiffs. As a direct result of BALBOA’s breach,

                                           5 Counterclaim and Third-Party Plaintiffs were under the belief that BALBOA and

                                           6 CYNOSURE were party of the same business, and that the representations

                                           7 CYNOSURE made regarding the loan and terms for financing under the EFA were

                                           8 true.

                                           9         61.   As a result of BALBOA failing to fulfill its statutory duty, Counterclaim
                                          10 and Third-Party Plaintiffs reasonably believed that representations made by the sales

                                          11 representative from HOLOGIC and CYNOSURE were true and was not on notice
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                                          12 that BALBOA held different interests in financing the purchase of the Equipment.

                                          13 Accordingly, Counterclaim and Third-Party Plaintiffs obligated themselves under the
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                                          14 EFA under the mistaken belief that the relevant representations made by HOLOGIC

                                          15 salesperson were true and that the execution of the EFA obligated HOLOGIC and

                                          16 CYNOSURE to perform on the promises it made.

                                          17         62.   Due to BALBOA’s violation of the commercial loan provisions of the
                                          18 CFL which were intended to protect Borrowers like Counterclaim and Third-Party

                                          19 Plaintiffs, BALBOA’s negligence is presumed.

                                          20         63.   But for BALBOA’s failure to comply with its requirements of the CFL
                                          21 which is applicable to all license finance lenders, Counterclaim and Third-Party

                                          22 Plaintiffs would not have been induced to sign the EFA by the misrepresentations of

                                          23 the unlicensed sales agent. BALBOA is further liable for all misrepresentations made

                                          24 by the unlicensed person per the provisions of the CFL.

                                          25                             FIFTH CAUSE OF ACTION
                                          26                        RESCISSION OR CANCELLATION
                                          27                            (Against All Cross-Defendants)
                                          28         64.   Counterclaim and Third-Party Plaintiffs repeat and re-allege the
                                                                                        25
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                                           1 allegations contained in every preceding paragraph as if fully set forth herein.

                                           2        65.    California Civil Code § 1689 expressly recognizes a party’s right to
                                           3 rescind a contract if the consent of the party was given by mistake or obtained through

                                           4 fraud exercised by or with the connivance of the party seeking to enforce the contract.

                                           5        66.    California Civil Code § 1577 characterizes a mistake of fact as a mistake
                                           6 consisting of a belief in the present existence of a thing material to the contract, which

                                           7 does not exist.

                                           8        67.    California Civil Code §§ 2300 and 2317 establish the authority of an
                                           9 ostensible agent when the principal “intentionally or by want of ordinary care” allows

                                          10 a third person to believe the agent has such authority.

                                          11        68.    Counterclaim and Third-Party Plaintiffs’ consent to the EFA was given
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                                          12 by the mistake that HOLOGIC and CYNOSURE would provide services and support

                                          13 for Counterclaim and Third-Party Plaintiffs’ successful and profitable use of the
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                                          14 Equipment.

                                          15        69.    Counterclaim and Third-Party Plaintiffs s consent to the EFA was also
                                          16 obtained by the fraudulent misrepresentations made by HOLOGIC’s sales

                                          17 representative, Cassandra, including the false promise of services and support Sellers

                                          18 would provide to Counterclaim and Third-Party Plaintiffs, and the false

                                          19 representations of the financing terms under the EFA for the loan provided by

                                          20 BALBOA, including that Counterclaim and Third-Party Plaintiffs could cancel the

                                          21 EFA at any time.

                                          22        70.    Neither HOLOGIC, CYNOSURE, or HOLOGIC’s sales representative,
                                          23 Cassandra, were licensed under the CFL, yet received compensation for its referral of

                                          24 the Counterclaim and Third-Party Plaintiffs to BALBOA for a commercial loan. The

                                          25 CFL holds a licensed finance lender is liable for any misrepresentations made by an

                                          26 unlicensed person referring a borrower to that lender.

                                          27        71.    Additionally, as alleged in the detail in the Fourth Cause of Action,
                                          28 BALBOA was negligent in its failure to provide written disclosure of its sole authority
                                                                                      26
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                                           1 to offer Counterclaim and Third-Party Plaintiffs a loan. Therefore, if not intentionally

                                           2 then at least by want of ordinary care, BALBOA allowed for HOLOGIC or

                                           3 CYNOSURE representative to make unchallenged false representations of the EFA

                                           4 and the financing of the Equipment to Counterclaim and Third-Party Plaintiffs.

                                           5        72.    Accordingly, by at least want or ordinary care, BALBOA allowed
                                           6 Counterclaim and Third-Party Plaintiffs to believe that HOLOGIC or CYNOSURE

                                           7 had authority, either as an agent or as a party with joint business interests as

                                           8 BALBOA, to represent the terms of the EFA to Counterclaim and Third-Party

                                           9 Plaintiffs.

                                          10        73.    BALBOA is responsible for HOLOGIC’s and CYNOSURE’s fraudulent
                                          11 acts through ostensible agency and has statutory liability under the CFL for the
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                                          12 misrepresentations made by Cassandra, Moreover, Counterclaim and Third-Party

                                          13 Plaintiffs’ consent to the EFA was obtained through fraud for which BALBOA is
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                                          14 liable, and therefore the EFA is subject to rescission by Counterclaim and Third-Party

                                          15 Plaintiffs.

                                          16        74.    Counterclaim and Third-Party Plaintiffs seeks an order from this court
                                          17 rescinding the EFA and holding that Counterclaim and Third-Party Plaintiffs and

                                          18 returning the parties to their status quo ante.

                                          19                             SIXTH CAUSE OF ACTION
                                          20                                   (REFORMATION)
                                          21                                   (Against BALBOA)
                                          22        75.    Counterclaim and Third-Party Plaintiffs repeat and re-allege the
                                          23 allegations contained in every preceding paragraph as if fully set forth herein.

                                          24        76.    The performance of the contract is excused when an (1) unforeseeable
                                          25 event, (2) outside of the parties’ control, (3) renders performance impossible or

                                          26 impractical. Citizens of Humanity, LLC v. Caitac Int’l, Inc., No. B215233, 2010 WL

                                          27 3007771 (Cal. Ct. App. Aug. 2, 2010). Additionally: “performance remains possible

                                          28 but is excused whenever a fortuitous event supervenes to cause a failure of the
                                                                                    27
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                                           1 consideration or a practically total destruction of the expected value of the

                                           2 performance.” Id. (see also Restatement (Second) of Contract 265 and Lloyd v.

                                           3 Murphy, 25 Cal. 2d 48, 54, 153 P.2d 47, 50 (1944).

                                           4        77.    Counterclaim and Third-Party Plaintiffs executed the EFA with the
                                           5 purpose that it would be able to successfully use the Equipment on patients in open

                                           6 operations of its business and benefit from the use of the Equipment. The ability to

                                           7 fulfill this purpose was the basis for Counterclaim and Third-Party Plaintiffs’

                                           8 willingness to make the monthly payments provided by the EFA.

                                           9        78.    The impact of COVID-19 global pandemic was a supervening event
                                          10 which could not be foreseen by either Counterclaim and Third-Party Plaintiffs or the

                                          11 Lender. Accordingly, the purpose of the purchase of the Equipment was frustrated.
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                                          12        79.    The expected value of performance of the EFA to Counterclaim and
                                          13 Third-Party Plaintiffs have been destroyed by an unexpected event, which caused an
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                                          14 actual failure of consideration.

                                          15        80.    Accordingly, during the time State of Alabama’s health regulations and
                                          16 State Health Officer’s orders mandated the closure of Counterclaim and Third-Party

                                          17 Plaintiffs’ Medical Practice, the purpose of the EFA was frustrated and Counterclaim

                                          18 and Third-Party Plaintiffs’ performance was excused. However, despite this

                                          19 frustration of purpose, BALBOA has declared Counterclaim and Third-Party

                                          20 Plaintiffs’ default and wrongfully seeks immediate payment of all amounts owed

                                          21 under the EFA, plus interest and attorney fees.

                                          22        81.    An actual controversy exists between the parties concerning their
                                          23 respective rights under the EFA and Counterclaim and Third-Party Plaintiffs have no

                                          24 adequate remedy at law. BALBOA seeks to enforce the EFA and collect even more

                                          25 money than originally provided by the EFA, where in fact the EFA should be

                                          26 reformed under the doctrine of frustration of purpose to allow for deferral of payments

                                          27 under the EFA until the time Counterclaim and Third-Party Plaintiffs were able to

                                          28 open and operate its Medical Practice in the State of Alabama with the potential to
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                                           1 use the Equipment.

                                           2         82.   Counterclaim and Third-Party Plaintiffs are entitled to judicial
                                           3 reformation of the EFA to reflect the purpose and intent of the parties and: i) that

                                           4 Counterclaim and Third-Party Plaintiffs           is excused from making the monthly
                                           5 payments under the EFA from the time of the mandated closures of non-essential

                                           6 business in the state of Alabama until the time it was able to reopen; and ii) BALBOA

                                           7 wrongfully refused to allow Counterclaim and Third-Party Plaintiffs to continue

                                           8 payments under the EFA after their medical practice was allowed to reopen.

                                           9         83.   Counterclaim and Third-Party Plaintiffs are entitled to judicial
                                          10 reformation of the EFA to reflect the purpose and intent of the parties and hold that

                                          11 Counterclaim and Third-Party Plaintiffs are excused from making the monthly
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                                          12 payments provided by the EFA from the time Counterclaim and Third-Party Plaintiffs

                                          13 were forced to close the Medical Practice until the time it was allowed open again in
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                                          14 the State of Alabama, with the ability to use the Equipment.

                                          15         84.   Counterclaim and Third-Party Plaintiffs respectfully request that this
                                          16 Court enter a judgement that Counterclaim and Third-Party Plaintiffs are entitled to

                                          17 judicial reformation of the EFA to reflect the parties’ true intent, as set forth above.

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                                           1                                PRAYER FOR RELIEF
                                           2       WHEREFORE, Counterclaim and Third-Party Plaintiffs pray for judgment as
                                           3 follows:

                                           4       1.    Awarding judgement for Counterclaim and Third-Party
                                           5             Plaintiffs and damages in an amount to be proven at trial;
                                           6       2.    Awarding rescission, reformation declaratory relief as alleged
                                           7             above;
                                           8       3.    Awarding the injunctive relief necessary to ensure that Counterclaim
                                           9             and Third Party Defendants’ conduct alleged herein does not continue
                                          10             into the future;
                                          11       4.    An award of exemplary and punitive damages;
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                                          12       5.    An award for attorneys’ fees under Civil Code Section 1717.
                                          13       6.    For legal costs, filing costs and costs of suit;
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                                          14       7.    For such other and further relief as the Court deems just and proper.
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                                          20 Dated: November 2, 2023              By: / s/ Dariush G. Adli
                                                                                      Dariush G. Adli
                                          21
                                                                                      Jacob Mojarro
                                          22                                          Attorneys for Defendants
                                                                                      MITT LARY FAMILY PRACTICE, LLC
                                          23                                          and MALIKA ARYANPURE
                                          24

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